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                                                                                        Rev. 09/01/14

                              LOCAL BANKRUPTCY FORM 3015-1

                     IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:
                                             :   CHAPTER 13
Laura Lynn Walters                           :   CASE NO. 1 - 16 -bk- 01293
Raymond Dennis Walters, Jr.                  :
                                             :   CHAPTER 13 PLAN
                                             :
                        Debtor(s)            :         (Indicate if applicable)
                                             :   (   ) # MOTIONS TO AVOID LIENS
                                             :   (   ) # MOTIONS TO VALUE COLLATERAL
                                             :
                                             :   (   ) ORIGINAL PLAN
                                             :   (   ) AMENDED PLAN
                                             :              (Indicate 1ST, 2ND, 3RD, etc.)

                              YOUR RIGHTS WILL BE AFFECTED

 READ THIS PLAN CAREFULLY. If you oppose any provision of this plan you must file a
 timely written objection. This plan may be confirmed and become binding on you without
 further notice or hearing unless a written objection is filed before the deadline stated on the
 Notice issued in connection with the filing of the plan



                                     PLAN PROVISIONS
DISCHARGE:         (Check one)
   (✔)         The debtor will seek a discharge of debts pursuant to Section 1328(a).

   (   )       The debtor is not eligible for a discharge of debts because the debtor has
               previously received a discharge described in Section 1328(f).

NOTICE OF SPECIAL PROVISIONS:                (Check if applicable)

   (   )       This plan contains special provisions that are not included in the standard plan as
               approved by the U.S. Bankruptcy Court for the Middle District of Pennsylvania.
               Those provisions are set out in Section 8 of this plan. Other than to insert text
               into the designated spaces or to expand the tables to include additional claims, the
               preprinted language of this form may not be altered. This does not mean that the
               Debtor is prohibited from proposing additional or different plan provisions in
               Section 8. The Debtor may propose additional or different plan provisions or
               specify that any of the provisions will not be applicable, provided however, that
               each such provision or deletion shall be set forth herein in Section 8.




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1.    PLAN FUNDING AND LENGTH OF PLAN

      A.     Plan Payments

             1.     To date, the Debtor(s) has paid $________ (enter $0 if no payments have
                    been made to the Trustee to date). Debtor(s) shall pay to the Trustee for
                    the remaining term of the plan the following payments. If applicable, in
                    addition to monthly plan payments, Debtor(s) shall make conduit
                    payments through the Trustee as set forth below. The total base plan is
                    $_______________, plus other payments and property stated in Section
                    1B below:

     Start         End                                 Estimated Conduit
                                  Plan Payment                                  Total Payment
     mm/yy        mm/yy                                     Payment

      4/16          3/21             $450.00                                     $27,000.00




                                                          Total Payments:   $      27,000.00


             2.     If the plan provides for conduit mortgage payments, and the mortgagee
                    notifies the Trustee that a different payment is due, the Trustee shall notify
                    the Debtor and the attorney for the Debtor, in writing, to adjust the conduit
                    payments and the plan funding accordingly. Debtor(s) is responsible for
                    all post-petition mortgage payments due prior to the initiation of conduit
                    mortgage payments.

             3.     Debtor(s) shall take appropriate action to ensure that all applicable wage
                    attachments are adjusted to conform to the terms of the plan.

             4.     CHECK ONE:         (   ) Debtor(s) is at or under median income

                                       ( ✔ ) Debtor(s) is over median income. Debtor(s)
                                                                            0.00
                                       calculates that a minimum of $____________      must be
                                       paid to unsecured, non-priority creditors in order to
                                       comply with the Means Test.

      B.     Liquidation of Assets

             1.     In addition to the above specified plan payments, Debtor(s) shall dedicate
                    to the plan proceeds in the estimated amount of $_____________ from the


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                        sale of property known and designated as __________________________
                        ____________________________. All sales shall be completed by
                        ___________________, 20____. If the property does not sell by the date
                        specified, then the disposition of the property shall be as follows:
                        ____________________________________________________________

               2.       Other payments from any source(s) (describe specifically) shall be paid to
                        the Trustee as follows: _________________________________________

               3.       The Debtor estimates that the liquidation value of this estate is
                        $____________. (Liquidation value is calculated as the value of all non-
                        exempt assets after the deduction of valid liens and encumbrances and
                        before the deduction of Trustee fees and priority claims.)

2.     SECURED CLAIMS

       A.      Pre-Confirmation Distributions. Adequate protection and conduit payments in the
               following amounts will be paid by the Debtor to the Trustee. The Trustee will
               disburse these payments for which a proof of claim has been filed as soon as
               practicable after receipt of said payments from the Debtor.

                                                                                       Estimated
     Name of Creditor                   Address                    Account #           Monthly
                                                                                       Payment

                                                                                   $


                                                                                   $


       The Trustee will not make a partial payment. If the Debtor makes a partial plan payment,
       or if it is not paid on time and the Trustee is unable to pay timely a payment due on a
       claim in this section, the Debtor’s cure of this default must include any applicable late
       charges.

       Upon receipt, Debtor shall mail to the Trustee all notices from mortgagees including
       statements, payment coupons, impound and escrow notices, and notices concerning
       changes of the interest rate on variable interest rate loans. If any such notice informs the
       Debtor that the amount of the payment has increased or decreased, the change in the plan
       payment to the Trustee will not require modification of this plan.

       B.      Mortgages and Other Direct Payments by Debtor. Payments will be made outside
               the plan according to the original contract terms, with no modification of contract
               terms, unless otherwise agreed to by the contracting parties, and with liens
               retained. All mortgage and other lien claim balances survive the plan if not
               avoided or paid in full under the plan.



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                                                                                       Contractual Principal Balance
       Name of Creditor                       Description of Collateral                 Monthly        of Claim
                                                                                        Payment

Wells Fargo                          8236 Bobs Road, Felton, PA
                                                                                       $   1,817.88   $       271,985.13


GM Financial                         2014 Chevrolet Sonic
                                                                                       $   232.13     $       11,588.97


Americredit Financial services,      2016 Ford Escape
Inc.                                                                                   $   380.66     $       20,132.17



                                                                                       $              $


        C.        Arrears. The Trustee shall distribute the amount of pre-petition arrearages set
                  forth in the allowed proof of claim to each secured creditor set forth below. If the
                  Debtor or the Trustee objects to a proof of claim and the objection is sustained, or
                  if the plan provides for payment of amounts greater than the allowed proof of
                  claim, the creditor’s claim will be paid in the amount allowed by the court.

                                                                        Estimated
                                                                       Pre-petition    Estimated Post-    Estimated
     Name of Creditor             Description of Collateral            Arrears to be   petition Arrears Total to be paid
                                                                          Cured          to be Cured        in plan

Wells Fargo                       8236 Bobs Road, Felton, PA
                                                                   $    23,000.00*     $                  $     23,000.00


                                                                   $                   $                  $


                                                                   $                   $                  $



                                                                   $                   $                  $


        D.        Secured Claims Paid According to Modified Terms. These amounts will be paid
                  in the plan according to modified terms, and liens retained until entry of
                  discharge. The excess of the creditor’s claim will be treated as an unsecured
                  claim. Any claim listed as “NO VALUE” in the “Modified Principal Balance”
                  column below will be treated as an unsecured claim. THE LIENS WILL BE
                  AVOIDED OR LIMITED THROUGH THE PLAN OR DEBTOR(S) WILL FILE
                  AN ADVERSARY ACTION TO DETERMINE THE EXTENT, VALIDITY,
                  AND PRIORITY OF THE LIEN (Select method in last column):




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                                                           Modified        Interest       Total         Plan* or
   Name of Creditor      Description of Collateral         Principal         Rate       Payment         Adversary
                                                           Balance                                       Action

                                                       $                         % $



                                                       $                         % $



                                                       $                         % $

* “PLAN” INDICATES THAT THE DEBTOR(S) PROPOSES TO AVOID OR LIMIT
THE LIEN OF THE CREDITOR IN THIS PLAN. CONFIRMATION OF THE PLAN
SHALL CONSTITUTE A FINDING OF VALUATION PURSUANT TO SECTION
506(a). NO ADVERSARY COMPLAINT OR MOTION WILL BE FILED AND THE
LIEN WILL BE AVOIDED BY A CONFIRMATION ORDER UPON DISCHARGE. IF
THE CREDITOR WISHES TO CONTEST THE AVOIDANCE OF THE LIEN, THE
CREDITOR MUST FILE AN OBJECTION TO THIS PLAN. OTHERWISE
CONFIRMATION OF THE PLAN WILL AVOID THE LIEN UPON DISCHARGE.

      E.       Other Secured Claims. (Including conduit payments)

                                                                           Principal      Interest      Total to be
   Name of Creditor             Description of Collateral                  balance of       Rate        paid in plan
                                                                             Claim

                                                                       $                          % $



                                                                       $                          % $



                                                                       $                          % $



      F.       Surrender of Collateral. Debtor(s) surrenders the following assets to secured
               creditors. Upon confirmation of the plan, bankruptcy stays are lifted as to the
               collateral to be surrendered. This provision does not prejudice a creditor’s right
               to move to lift the stay prior to confirmation.

           Name of Creditor                          Description of Collateral to be Surrendered




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     G.       Lien Avoidance. The Debtor moves to avoid the following judicial and/or
              nonpossessory, non-purchase money liens of the following creditors pursuant to
              Section 522(f) (this section should not be used for statutory or consensual liens
              such as mortgages):

          Name of Creditor                                Description of Collateral




     H.       Optional provisions regarding duties of certain mortgage holders and servicers.
              Property of the estate vests upon closing of the case, and Debtor elects to include
              the following provisions. (Check if applicable)

              (     )   Confirmation of the plan shall impose an affirmative duty on the holders
                        and/or servicers of any claims secured by liens, mortgages and/or deeds of
                        trust on the principal residence of the Debtor to do the following:

                        (1)    Apply the payments received from the Trustee on the pre-petition
                        arrearage, if any, only to such arrearage. If the plan provides for an
                        allowed payment of post-petition arrearages as set forth in Section 2C,
                        apply those payments to only the post-petition arrearages.

                        (2)     Deem the pre-petition arrearage as contractually current upon
                        confirmation of the plan for the sole purpose of precluding the imposition
                        of late payment charges or other default-related fees and services based
                        solely on the pre-petition default or defaults.

                        (3)    Apply the post-petition monthly mortgage payments made by the
                        Debtor to the post-petition mortgage obligations as provided for by the
                        terms of the underlying mortgage note. Late charges may be assessed on
                        post-petition payments as provided by the terms of the mortgage and note.

3.   PRIORITY CLAIMS

     A.       Allowed unsecured claims entitled to priority under section 1322(a) will be paid
              in full unless modified under Section 8:

                  Name of Creditor                              Estimated Total Payment

                                                   $

                                                   $

                                                   $



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       B.      Administrative Claims:

               (1)      Trustee fees. Percentage fees payable to the Trustee will be paid at the
                                      rate fixed by the United States Trustee, not to exceed 10%.

               (2)      Attorney fees. Check one box:

                        (   )     In addition to the retainer of $ 1,690.00 already paid by the
                                  Debtor, the amount of $ 2,300.00 in the plan. This represents the
                                  unpaid balance of the presumptively reasonable fee specified in
                                  L.B.R. 2016-2.

                        (   )     $            per hour, to be adjusted in accordance with the terms
                                  of the written fee agreement between the Debtor and the attorney.
                                  Payment of such lodestar compensation shall require a separate fee
                                  application with the requested amount of compensation approved
                                  by the Court.

               (3)      Other administrative claims.

                Name of Creditor                                        Estimated Total Payment

                                                        $
                                                        $
                                                        $

4.     UNSECURED CLAIMS

       A.      Claims of Unsecured Nonpriority Creditors Specially Classified. Includes
               unsecured claims, such as co-signed unsecured debts, that will be paid in full even
               though all other unsecured claims may not be paid in full.

     Name of Creditor           Reason for Special Classification       Amount of     Interest Total Payment
                                                                         Claim          Rate

                                                                    $                      % $



                                                                    $                      % $


       B.      All remaining allowed unsecured claims shall receive a pro-rata distribution of
               any funds remaining after payment of the other classes.




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5.        EXECUTORY CONTRACTS AND UNEXPIRED LEASES. The following
          executory contracts and unexpired leases are assumed (and pre-petition arrears to be
          cured in the plan) or rejected (so indicate):


     Name of Creditor         Description of Collateral        Monthly Interest Pre-petition              Total           Assume/
                                                               Payment Rate       Arrears                Payment           Reject

                                                              $                  % $                 $


                                                              $                  % $                 $


6.        REVESTING OF PROPERTY: (Check One)

          (✔ )        Property of the estate will vest in the Debtor upon confirmation. (Not to be used
                      with Section 2H)

          (     )     Property of the estate will vest in the Debtor upon closing of the case.

7.        STUDENT LOAN PROVISIONS

          A.          Student loan provisions. This plan does not seek to discharge student loan(s)
                      except as follows:




                      (NOTE: If you are not seeking to discharge a student loan(s), do not
                      complete this section.)


                    Name of Creditor                          Monthly           Interest      Pre-petition      Total Payment
                                                              Payment             Rate          Arrears

                                                          $                             % $                     $


                                                          $                             % $                     $


8.        OTHER PLAN PROVISIONS

          A.          Include the additional provisions below or on an attachment. (NOTE: The plan
                      and any attachment must be filed as one document, not as a plan and
                      exhibit.)
              *The amount provided is an estimate. Debtors will pay the amount set forth in the allowed proof of claim.




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9.     ORDER OF DISTRIBUTION:

Payments from the plan will be made by the Trustee in the following order:
Level 1:
Level 2:
Level 3:
Level 4:
Level 5:
Level 6:
Level 7:
Level 8:

If the above Levels are not filled-in, then the order of distribution of plan payments will be
determined by the Trustee using the following as a guide:

Level 1:       Adequate protection payments.
Level 2:       Debtor’s attorney’s fees.
Level 3:       Domestic Support Obligations.
Level 4:       Priority claims, pro rata.
Level 5:       Secured claims, pro rata.
Level 6:       Specially classified unsecured claims.
Level 7:       General unsecured claims.
Level 8:       Untimely filed unsecured claims to which the Debtor has not objected.

GENERAL PRINCIPLES APPLICABLE TO ALL PLANS

All pre-petition arrears and cramdowns shall be paid to the Trustee and disbursed to creditors
through the plan.

If a pre-petition creditor files a secured, priority or specially classified claim after the bar date,
the Trustee will treat the claim as allowed, subject to objection by the Debtor. Claims filed after
the bar date that are not properly served on the Trustee will not be paid. The Debtor is
responsible for reviewing claims and filing objections, if appropriate.
                  3/30/16
Dated: ___________________________                     /s/Steven M. Carr, Esquire
                                                       Attorney for Debtor
                                                       Laura Lynn Walters
                                                       Debtor

                                                       Raymond Dennis Walters, Jr.
                                                       Joint Debtor




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